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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION



   DARK CIRCUIT LABS, INC.,


                         Plaintiff,
           vs.
                                                    Civil Action No.: 1:23-cv-00326-LMB-LRV

   BLACK SAILS SECURITY LLC, JOHN
   CARPENTER, ERIC MISSIMER,
   MICHAEL FRANK, and KEITH
   HADDOCK,
                         Defendants.


   ERIC MISSIMER,

                         Plaintiff,
           vs.                                      Civil Action No.: 1:23-cv-00476-LMB-LRV

   DARK CIRCUIT LABS, INC.,

                         Defendant.


                  DARK CIRCUIT LABS, INC.’S MOTION TO CONSOLIDATE
                 PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 42(a)

         Plaintiff Dark Circuit Labs, Inc. (hereinafter “DCL”), pursuant to Federal Rule of Civil

  Procedure 42(a)(2), hereby moves this Honorable Court to consolidate the above captioned

  actions, Dark Circuit Labs, Inc. v. Black Sails Security, LLC, et al., Civil Action No. 1:23-cv-

  00236-LMB-LRV, and Eric Missimer v. Dark Circuit Labs, Inc., Civil Action No. 1:23-cv-00476-

  LMB-LRV, for all purposes including trial. These two actions involve the same litigants, DCL and

  Eric Missimer (“Missimer”), the same exact counsel for DCL and Missimer, and allegations of
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  fact that arise out of a common nucleus of operative facts, as well as seek relief that will require

  conclusions of law that are applicable to claims and defenses in both actions. No party will be

  prejudiced by the consolidation of these actions. If consolidation is refused, however, the Court

  and the parties will be severely prejudiced by having to try the same claims and defenses twice,

  incurring incredibly steep financial costs, and creating the institutional risk of inconsistent rulings

  or verdict and eroding judicial economy. Pursuant to Local Rule 7(F)(1), a Memorandum of Law

  in Support of this Motion is filed simultaneously herewith.

  Dated: April 12, 2023                               Respectfully submitted,



                                                      Steven J. Weber, VSB No. 35573
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                               CERTIFICATE OF SERVICE

         I hereby certify that, on this date, a true and correct copy of the foregoing Motion to

  Consolidate, including the Notice of Hearing, Declaration of Steven J. Weber, Esq. with Exhibits

  thereto, and Memorandum of Law in Support, was served on all counsel of record via ECF as

  follows:

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  Dated: April 12, 2023
                                                 Steven J. Weber, VSB No. 35573
